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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE



 OI EUROPEAN GROUP B.V.,

                            Plaintiff,
                   v.
                                                                C.A. No.: 1:19-mc-00290-LPS
 BOLIVARIAN REPUBLIC OF VENEZUELA,

                            Defendant.



                         DECLARATION OF JOSEPH E. NEUHAUS

              I, Joseph E. Neuhaus, pursuant to 28 U.S.C. § 1746, hereby declare:

              1.        On February 23, 2023, Sullivan & Cromwell LLP emailed a letter to

Gustavo Marcano, the head of the Venezuelan Asset Administration and Protection Commission,

which has the power to retain counsel on behalf of Venezuela, and certain former Venezuelan

Interim Government officials, stating that we would be withdrawing from pending litigations, and

to advise them that Venezuela may wish to engage new counsel in this and other matters.

              2.        On March 8 and 10, 2023, we wrote to Mr. Marcano and certain former

Venezuelan Interim Government officials regarding a motion to withdraw in another case. On

March 18, 2023, we wrote to Mr. Marcano, another member of the Commission, and the former

Venezuelan Interim Government officials regarding our withdrawal in this and other cases.

              3.        On March 22, 2023, Mr. Marcano responded via email and provided an

address in Florida to which the copy of this motion to withdraw could be sent pursuant to Local

Rule 83.7.

              4.        On April 4, 2023, Sullivan & Cromwell sent a draft of this motion to

withdraw to Mr. Marcano via email and via certified mail to the address he had indicated.
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              I declare under penalty of perjury that the foregoing is correct to the best of my

knowledge, information, and belief.


Dated: New York, New York
       April 28, 2023
                                             /s/ Joseph E. Neuhaus
                                           Joseph E. Neuhaus
                                           SULLIVAN & CROMWELL LLP
                                           125 Broad Street
                                           New York, New York 10004
                                           Telephone: 212-558-4000
                                           Facsimile: 212-558-3588
                                           neuhausj@sullcrom.com




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